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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS


 KAROLINA BANACH,

                                Plaintiff,                    Docket No. 3:18-cv-2676

        - against -                                           JURY TRIAL DEMANDED

 IRONCLAD PERFORMANCE WEAR CORPORATION

                                Defendant.


                                         COMPLAINT

       Plaintiff Karolina Banach (“Banach” or “Plaintiff”) by and through her undersigned

counsel, as and for her Complaint against Defendant Ironclad Performance Wear Corporation

(“Ironclad” or “Defendant”) hereby alleges as follows:

                                   NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act and for the removal and/or alteration of copyright management information under Section

1202(b) of the Digital Millennium Copyright Act. This action arises out of Defendant’s

unauthorized reproduction and public display of a copyrighted photographs of soldiers wearing

tactical clothing and gloves, owned and registered by Banach, a professional photographer.

Accordingly, Banach seeks monetary relief under the Copyright Act of the United States, as

amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
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       3.      This Court has personal jurisdiction over Defendant because Defendant resides in

and/or transacts business in Texas.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Banach is a professional photographer in the business of licensing her

photographs for a fee having a usual place of business at Ludwika Rydygiera 11AM. 56, 01-793,

Warsaw, Poland.

       6.      Upon information and belief, Ironclad is a foreign business corporation duly

organized and existing under the laws of the State of Texas, with a place of business at 3324 Roy

Orr Suite #200 Grand Prairie, Texas 75050. Upon information and belief Ironclad is registered

with the Texas Department of State Division of Corporations to do business in the State of

Texas. At all times material, hereto, Ironclad has owned and operated a website at the URL:

www.ironclad.com (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photographs

       7.      Banach photographed soldiers wearing tactical clothing and gloves (the

“Photographs”). A true and correct copy of these Photographs are attached hereto as Exhibit A.

       8.      Banach is the author of the Photographs and has at all times been the sole owner

of all right, title and interest in and to the Photographs, including the copyright thereto.

       9.      Each photograph had a watermark on them.

       10.     These Photographs were registered with the United States Copyright Office and

was given registration number VA 2-103-135. These photographs were titled

“10.23.17_glove_closeup_DSC_69881.jpg.”, “10.11.17_sniper_portrait_DSC_0626.jpg”,
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“7.17.17_sniper_team_mountains_DSC_6432.jpg”,

“8.1.17_soldier_rifle_greenzone_DSC_7039.jpg” and

“9.15.17_soldier_recon_DSC_98591.JPG.” See Exhibit B.

       B.      Defendant’s Infringing Activities

       11.     Ironclad then used the Photographs on their Website titled to advertise their

products as well as inserting them in their catalog. See URL www.ironclad.com/ironclad-

catalog/. The Website prominently featured the Photographs. Ironclad also used these

Photographs as backdrops and banners to advertise their merchandise at trade conventions and

gear shows in an exhibit booth, as well as posting the Photographs to their social media

Instagram account. See URL www.instagram.com/p825_oE-DukD.?hl-en&taken-by-

ironclad_gloves. A copy of these infringements has been compiled and are attached hereto as

Exhibit C.

       12.     Ironclad did not license these Photographs from Plaintiff, nor did Ironclad have

Plaintiff’s permission or consent to publish these Photographs on its Website, catalog, social

media or in print as backdrop banners for exhibit booths.

                           FIRST CLAIM FOR RELIEF
                   (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                              (17 U.S.C. §§ 106, 501)

       13.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

       14.     Ironclad infringed Plaintiff’s copyright in the Photographs by reproducing and

publicly displaying the Photographs on their Website, social media, catalog and in print as

backdrop banners for exhibit booths at trade shows. Ironclad is not, and has never been, licensed

or otherwise authorized to reproduce, publically display, distribute and/or use the Photographs.
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          15.   The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          16.   Upon information and belief, the foregoing acts of infringement by Defendant

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          17.   As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

                      SECOND CLAIM FOR RELIEF
      INTEGRITY OF COPYRIGHT MANAGEMENT INFORMATION AGAINST
                             DEFENDANT
                             (17 U.S.C. § 1202)

          18.   Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-17 above.

          19.   Upon information and belief, Defendant cropped the watermark off the

Photographs and placed it on its Website and reproduced it in print as backdrop banners for their

exhibit booths at trade shows without the watermark.

          20.   Upon information and belief, intentionally and knowingly removed copyright

management information identifying Plaintiff as the photographer of the Photographs.

          21.   The conduct of Ironclad violates 17 U.S.C. § 1202(b).

          22.   Upon information and belief, Ironclad’s falsification, removal and/or alteration of

the aforementioned copyright management information was made without the knowledge or

consent of Plaintiff.
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       23.     Upon information and belief, the falsification, alteration and/or removal of said

copyright management information was made by Ironclad intentionally, knowingly and with the

intent to induce, enable, facilitate, or conceal their infringement of Plaintiff’s copyright in the

Photographs. Ironclad also knew, or should have known, that such falsification, alteration and/or

removal of said copyright management information would induce, enable, facilitate, or conceal

their infringement of Plaintiff’s copyright in the Photographs.

       24.     As a result of the wrongful conduct of Ironclad as alleged herein, Plaintiff is

entitled to recover from Ironclad the damages, that he sustained and will sustain, and any gains,

profits and advantages obtained by Ironclad because of their violations of 17 U.S.C. § 1202,

including attorney’s fees and costs.

       25.     Alternatively, Plaintiff may elect to recover from Ironclad statutory damages

pursuant to 17 U.S.C. § 1203(c) (3) in a sum of at least $2,500 up to $25,000 for each violation

of 17 U.S.C. § 1202.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.      That Defendant Ironclad be adjudged to have infringed upon Plaintiff’s copyrights

               in the Photographs in violation of 17 U.S.C §§ 106 and 501;

       2.      The Defendant Ironclad be adjudged to have falsified, removed and/or altered

               copyright management information in violation of 17 U.S.C. § 1202.

       3.      That Plaintiff be awarded Plaintiff’s actual damages and Defendant’s profits,

               gains or advantages of any kind attributable to Defendant’s infringement of

               Plaintiff’s Photographs;
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       4.     That, with regard to the Second Claim for Relief, Plaintiff be awarded either:

              a) Plaintiff’s actual damages and Defendant’s profits, gains or advantages of any

              kind attributable to Defendant’s falsification, removal and/or alteration of

              copyright management information; or b) alternatively, statutory damages of at

              least $2,500 and up to $ 25,000 for each instance of false copyright management

              information and/or removal or alteration of copyright management information

              committed by Defendant pursuant to 17 U.S.C. § 1203(c);

       5.     That Defendant be required to account for all profits, income, receipts, or other

              benefits derived by Defendant as a result of its unlawful conduct;

       6.     That Plaintiff be awarded her costs, expenses and attorneys’ fees pursuant to

              17 U.S.C. § 1203(b);

       7.     That Plaintiff be awarded punitive damages for copyright infringement;

       8.     That Plaintiff be awarded attorney’s fees and costs for copyright infringement;

       9.     That Plaintiff be awarded pre-judgment interest; and

       10.    Such other and further relief as the Court may deem just and proper.


                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).


Dated: Valley Stream, New York
       October 9, 2018
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